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Of Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON
PORTLAND DIVISION

CORY ELIA and LESLEY MCLAM, Case No. 3:20-cv-01106-SI
Plaintiffs,

NOTICE OF WITHDRAWAL

VS. OF LAURA KOISTINEN

MAYOR TED WHEELER, JAMI RESCH,
CHARLES LOVELL Il, ERICA HURLEY,
WILLIAM KEMMER, JOHN BARTLETT,
MICHELLE PETTY, OFFICERS JANE
DOES and JOHN DOES 1-31, CITY OF
PORTLAND, STATE OF OREGON,
OREGON STATE TROOPERS JANE
DOES AND JOHN DOES, MULTNOMAH
COUNTY, JONELLE OLSZEWSKI,
MULTNOMAH COUNTY SHERIFFS
JANE DOES AND JOHN DOES 1-14, all in
their individual capacities and official
capacities,

Defendants.

Please take notice that Laura Koistinen is regrettably no longer with the firm of Creighton
& Rose, PC and will no longer be representing Plaintiff in the above-captioned action. Plaintiff
will continue to be represented by Beth Creighton & Michael Rose of Creighton & Rose, PC.

Plaintiff respectfully requests that all further notices, pleadings, and correspondence be addressed

CREIGHTON ATTORNEYS
S& ROSE, PC | ATLaw

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to Beth Creighton and Michael Rose and delivered to the address below.
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Dated this 14" day of July, 2021. CREIGHTON & ROSE, PC

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Of Attorney for Plaintiff

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PAGE 2 — NOTICE OF WITHDRAWAL OF ATTORNEY

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